 PS 8
           Case 4:17-cr-06029-EFS            ECF No. 35       filed 08/11/17      PageID.77 Page 1 of 2
(3/15)


                              UNITED STATES DISTRICT COURT                                             FILED IN THE
                                                                                                   U.S. DISTRICT COURT
                                                                                             EASTERN DISTRICT OF WASHINGTON

                                                            for
                                           Eastern District of Washington
                                                                                             Aug 11, 2017
                                                                                                  SEAN F. MCAVOY, CLERK


 U.S.A. vs.                     RAMOS, Rene                             Docket No.         4:17-CR-06029-EFS-1
                                 Petition for Action on Conditions of Pretrial Release

COMES NOW Curtis G. Hare, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of
defendant Rene Ramos, who was placed under Pretrial Supervision by the Honorable U.S. Magistrate Judge Mary K. Dimke
in the Court at Yakima, Washington, on the 31st day of July 2017, under the following conditions:

Standard Condition No. 8: Defendant is further advised, pursuant to 18 U.S.C. §922(n), it is unlawful for any person who
is under indictment for a crime punishable by imprisonment for a term exceeding 1 year, to possess, ship or transport in
interstate or foreign commerce any firearm or ammunition or receive any firearm or ammunition which has been shipped
or transported in interstate or foreign commerce.


         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


The defendant is alleged to be in violation of his conditions of Pretrial Supervision in the Eastern District of Washington
by:

Violation No. 1: On August 1, 2017, Rene Ramos was in possession of 22 rounds of .40 S&W ammunition.

22 rounds of ammunition were found in Mr. Ramos’ residence during the initial inspection of his home.


                             REQUESTING NO ACTION BE ORDERED AT THIS TIME

                                                                          I declare under the penalty of perjury that the
                                                                          foregoing is true and correct.
                                                                          Executed on:        08/10/2017
                                                                  by      s/Curtis G. Hare
                                                                          Curtis G. Hare

                                                                          U.S. Pretrial Services Officer
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THE COURT ORDERS

[ X]   No Action

[ ]    The Issuance of a Warrant

[ ]    The Issuance of a Summons

[ ]    The incorporation of the violations contained in this

       petition with the other violations pending before the

       Court.

[ ]    Defendant to appear before the Judge assigned to the case.

[ ]    Defendant to appear before the Magistrate Judge.

[ ]    Other
                                                                    Signature of Judicial Officer
                                                                     8/11/2017


                                                                    Date
